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       EXHIBIT 43
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From: Zimmerman, Malia McLaughlin <Malia.Zimmerman@FOXNEWS.COM>
To: rod@rodwheeler.com <rod@rodwheeler.com>
Subject: DC crime stats from the police department
Date: March 6, 2017 at 3:34:07 PM EST


You can access those statistics on our
website htti:i;f/crimemag.dc.gov/CrimeMagSearch.asgx.

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